Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 1 of 21 Page ID #:1047




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION



  SANDERLING MANAGEMENT LTD.,               )
                                            )
           Plaintiff,                       )   No. 1:20-cv-04627
                                            )
           v.                               )   Honorable Judge John Robert Blakey
                                            )
  SNAP INC.,                                )
                                            )
           Defendant.                       )
                                            )



                    DEFENDANT SNAP INC’S REPLY IN SUPPORT OF
                 MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(6)




 SMRH:4814-6086-3188.9
 122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 2 of 21 Page ID #:1048




                                                   TABLE OF CONTENTS
                                                                                                                                            Page

 I.       INTRODUCTION ...............................................................................................................1
 II.      ARGUMENT .......................................................................................................................1
          A.        Sanderling Fails to Identify a Material Factual Dispute. .........................................2
                    1.         Sanderling does not propose claim constructions that would be
                               material to the Court’s patent eligibility analysis. .......................................3
                    2.         Sanderling does not identify a material dispute over the state of the
                               art. ................................................................................................................4
                    3.         Sanderling does not identify a material dispute over the alleged
                               improvement. ...............................................................................................5
          B.        Alice Step One: The Asserted Claims are Directed to an Abstract Idea. .................7
                    1.         The Asserted Claims fail Step One of Alice. ...............................................8
                    2.         The Asserted Claims do not improve the computer itself..........................10
                    3.         Sanderling relies on inapposite authority...................................................11
                    4.         Sanderling’s critiques of Snap’s Step One analysis lack merit..................13
          C.        Alice Step Two: The Asserted Claims Do Not Recite an Inventive
                    Concept. .................................................................................................................14
 III.     CONCLUSION ..................................................................................................................15




 SMRH:4814-6086-3188.9                                                -i-
 122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 3 of 21 Page ID #:1049




                                              TABLE OF AUTHORITIES

                                                                                                                          Page(s)
 Cases

 Aatrix Software, Inc. v. Green Shades Software, Inc.
    882 F.3d 1121 (Fed. Cir. 2018)......................................................................................3, 5, 6, 7

 Alice Corp. Pty. Ltd. v. CLS Bank Int’l.
     134 S. Ct. 2347 (2014) .................................................................1, 2, 5, 7, 8, 10, 11, 13, 14, 15

 Allconnect, Inc. v. Consumer Brands, LLC
     2018 WL 7377934 (C.D. Cal. Dec. 14, 2018) ...................................................................14, 15

 Berkheimer v. HP Inc.
    890 F.3d 1369 (Fed. Cir. 2018)..................................................................................................2

 Boar’s Head Corp. v. DirectApps, Inc.
    No. 2:14-cv-01927-KJM-KJN, 2015 WL 4530596 (E.D. Cal. July 27, 2015) ..........................3

 BSG Tech LLC v. Buyseasons, Inc.
    899 F.3d 1281 (Fed. Cir. 2018)..................................................................................................1

 Content Extraction & Transmission LLC v. Wells Fargo Bank, N.A.
    776 F.3d 1343 (Fed. Cir. 2014)..................................................................................................2

 Core Wireless Licensing S.A.R.L. v. LG Elcs., Inc.
    880 F.3d 1356 (Fed. Cir. 2018)..........................................................................................11, 12

 Customedia Techs., LLC v. Dish Network Corp.
    951 F.3d 1359 (Fed. Cir. 2020)................................................................................5, 10, 11, 14

 DDR Holdings, LLC v. Hotels.com, L.P.
   773 F.3d 1245 (Fed. Cir. 2014)..........................................................................................14, 15

 Elec. Commun. Techs., LLC v. ShoppersChoice.com, LLC
    958 F.3d 1178 (Fed. Cir. 2020)..................................................................................................6

 Elec. Power Grp., LLC v. Alstom S.A.
    830 F.3d 1350 (Fed. Cir. 2016)..................................................................................................8

 Enfish, LLC v. Microsoft Corp.
    822 F.3d 1327 (Fed. Cir. 2016)................................................................................................11

 Finjan v. Blue Coat Systems
    879 F.3d 1299 (Fed. Cir. 2018)................................................................................................11


 SMRH:4814-6086-3188.9                                           -ii-
 122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 4 of 21 Page ID #:1050




 Genetic Techs. Ltd. v. Merial L.L.C.
    818 F.3d 1369 (Fed. Cir. 2016)..............................................................................................2, 5

 Intellectual Ventures I v. Symantec Corp.
     838 F.3d 1307 (Fed. Cir. 2016)..................................................................................................4

 iSentium, LLC v. Bloomberg Fin. L.P.
     343 F. Supp. 3d 379 (S.D.N.Y. 2018)......................................................................................13

 Kove IO, Inc. v. Amazon Web Servs., Inc.
    448 F. Supp. 3d 849 (N.D. Ill. 2020) .................................................................................11, 12

 Local Intelligence, LLC v. HTC Am., Inc.
    2018 WL 1697127 (N.D. Cal. Apr. 6, 2018) ...........................................................................11

 In re Rosenberg
     813 F. App’x 594 (Fed. Cir. 2020) ......................................................................................9, 13

 In re Rudy
     956 F.3d 1379 (Fed. Cir. 2020)..................................................................................................9

 Ex Parte Sanjiv Desai
    No. 2019-004988, 2020 .............................................................................................................9

 Synopsys, Inc. v. Mentor Graphics Corp.
    839 F.3d 1138 (Fed. Cir. 2016)..................................................................................................4

 Yanbin Yu v. Apple Inc.
    392 F. Supp. 3d 1096 (N.D. Cal. 2019) .................................................................................2, 6

 Statutes

 35 U.S.C. § 101 ....................................................................................................1, 2, 3, 4, 5, 13, 15

 35 U.S.C. § 102 ................................................................................................................................4

 35 U.S.C. § 103 ................................................................................................................................4

 Other Authorities

 Fed. R. Civ. P. 12(b)(6)................................................................................................................2, 3

 Rule 12 .........................................................................................................................................2, 5




 SMRH:4814-6086-3188.9                                                  -iii-
 122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 5 of 21 Page ID #:1051




           Defendant Snap Inc. (“Snap”) submits the following Reply in support of its Motion to

 Dismiss Plaintiff Sanderling Management LTD’s (“Sanderling’s”) Complaint Pursuant to Fed. R.

 Civ. P. 12(b)(6) (“Motion”) for failure to state a claim upon which relief can be granted.

 I.        INTRODUCTION

           In its Opposition, Sanderling attempts to manufacture a material dispute over factual issues

 and improperly reads limitations from the Asserted Patents’ specifications into the claims

 themselves to support its tenuous argument that the Asserted Patents claim alleged “improvements

 in computer capabilities” that would save them from being deemed unpatentable pursuant to 35

 U.SC. § 101. As the Federal Circuit instructs, the Court should ignore Sanderling’s improper

 attempt to hunt for patent eligible subject matter outside of the issued claims themselves. See BSG

 Tech LLC v. Buyseasons, Inc., 899 F.3d 1281, 1286 (Fed. Cir. 2018). A proper analysis, as Snap

 presented in its Motion, reveals that the Asserted Claims are directed to the plainly abstract idea

 of providing information (i.e., a digital image processing function or a media content processing

 function) based on the satisfaction of a condition. The Asserted Claims, therefore, fail to recite

 any inventive concept apart from an abstract idea and, therefore, are invalid as a matter of law.

 See Alice Corp. Pty. Ltd. v. CLS Bank Int'l., 134 S. Ct. 2347 (2014).

 II.       ARGUMENT

           Sanderling’s Opposition presents three arguments: (1) the validity of the Asserted Patents

 should not be decided before the Court resolves certain factual issues; (2) the Asserted Claims

 allegedly recite improvements to computer technology; and (3) the Asserted Claims allegedly

 “recite an ordered combination of steps that . . . amounts to significantly more than routine and

 conventional computers.” 1 (Dkt. 34 at 1.) Sanderling is wrong on all accounts.


 1
     Sanderling also argues that Snap improperly uses the independent Asserted Claims as representative for
     purposes of Snap’s Motion. Ironically, Sanderling’s own analysis in its Opposition focuses only on the

 SMRH:4814-6086-3188.9                                -1-
 122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 6 of 21 Page ID #:1052




          A.       Sanderling Fails to Identify a Material Factual Dispute.

          Sanderling contends that “patent-eligibility raises issues of fact, and is to be determined at

 a later stage [of the litigation than a Rule 12 motion], on a complete record.” (Id.) But that is not

 the law. Indeed, “[t]he Federal Circuit has repeatedly recognized that in many cases it is possible

 and proper to determine patent eligibility under 35 U.S.C. § 101 on a Rule 12(b)(6) motion.”

 Yanbin Yu v. Apple Inc., 392 F. Supp. 3d 1096, 1102 (N.D. Cal. 2019) (citing Genetic Techs. Ltd.

 v. Merial L.L.C., 818 F.3d 1369, 1373-74 (Fed. Cir. 2016) (citations omitted))); Content Extraction

 & Transmission LLC v. Wells Fargo Bank, N.A., 776 F.3d 1343, 1347 (Fed. Cir. 2014) (patent

 validity under Section 101 is properly decided on a motion to dismiss when the asserted claims,

 read most favorably to the patent holder, still describe an abstract idea). “[E]valuation of a patent

 claim's subject matter eligibility under § 101 can proceed even before a formal claim construction.”

 Id. (citing Genetic Techs., 818 F.3d at 1373-74). “[A] patentee cannot avoid dismissal for

 ineligible claims purely on the basis of conclusory or generalized statements . . . .” Id. (citing

 Cellspin Soft, Inc. v. Fitbit, Inc., 927 F.3d 1306 (Fed. Cir. 2019); Berkheimer v. HP Inc., 890 F.3d

 1369, 1373 (Fed. Cir. 2018)).

          Here, Sanderling argues that there are three issues of fact “that cannot be resolved at this

 stage”: (1) claim construction of the phrases “distribution rule” and “few seconds or less”; (2) “the

 state of the art at the time of the inventions”; and (3) whether alleged claimed improvements and

 limitations “were conventional, routine or well-understood,” or “transformative.” (Dkt. 34 at 8).

 But, even if taken as true, the alleged disputed facts Sanderling identifies are overly generalized

 and not material to the patentability of the Asserted Claims pursuant to Section 101.


   independent claims. Moreover, Sanderling fails to identify any dependent claim that amounts to
   significantly more than the abstract idea of providing information based on satisfying a condition. That
   is because none of the dependent claims provide meaningful limitations that would meet the
   patentability threshold of Alice.

 SMRH:4814-6086-3188.9                              -2-
 122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 7 of 21 Page ID #:1053




                   1. Sanderling does not propose claim constructions that would be material to the
                      Court’s patent eligibility analysis.

          Sanderling’s contention that the terms “distribution rule” and “few seconds or less” require

 constructions from the Court prior to determining patent eligibility pursuant to Section 101 (Dkt.

 34 at 8) finds no support in the law and the facts. To the extent “there are claim construction

 disputes at the Rule 12(b)(6) stage, . . . the court must proceed by adopting the non-moving party’s

 constructions.” Aatrix Software, Inc. v. Green Shades Software, Inc., 882 F.3d 1121, 1125 (Fed.

 Cir. 2018). Alternatively, “the court must resolve the disputes to whatever extent is needed to

 conduct the § 101 analysis.” Id.

          As an initial matter, Sanderling fails to offer any proposed construction of those terms.

 (Dkt. 34 at 5-8.) Sanderling’s attempt to derail Snap’s Motion without even meeting its threshold

 burden of proof should be rejected out of hand. Aatrix, 882 F.3d at 1125; Boar's Head Corp. v.

 DirectApps, Inc., No. 2:14-cv-01927-KJM-KJN, 2015 WL 4530596, *7 (E.D. Cal. July 27, 2015)

 (“Although it is defendants' burden to show ineligibility, a court should look to the plaintiff to

 show some factual dispute requiring claim construction.”) (citing Cyberfone Sys., LLC v. CNN

 Interactive Grp., Inc., 558 Fed. App'x. 988, 992 (Fed. Cir. 2014)).        Ironically, in a footnote,

 Sanderling complains that Snap did not attempt to construe these terms. (Dkt. 34 at FN3.) The

 fact that neither party proposed claim constructions for these terms is illustrative of their

 insignificance to the Court’s task at hand of determining whether the claims are patent eligible.

 Consequently, the Court need not burden itself with resolving Sanderling’s phantom claim

 construction dispute to decide Snap’s Motion. Furthermore, Sanderling does not even attempt to

 explain how construing these limitations would affect the Court’s patent eligibility analysis

 pursuant to Section 101. Sanderling’s failure to provide any proposed construction or explain its

 non-existent construction’s importance to the Court’s section 101 analysis is procedurally fatal to


 SMRH:4814-6086-3188.9                            -3-
 122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 8 of 21 Page ID #:1054




 its opposition. Sanderling’s failure to meet its burden of proof amounts to an implicit admission

 that the construction of these terms has no impact on the Court’s patent eligibility analysis.

          Despite Sanderling’s naked assertions, there really is no dispute over how the Asserted

 Claims should be characterized for purposes of Snap’s Motion. As Sanderling itself admits: “[t]he

 Asserted Claims are directed to a . . . computerized method and system of distributing, in a targeted

 manner, relevant digital image processing functions to mobile devices based on their GPS

 locations (or other conditions).” (Dkt. 34 at 2.) This characterization of the Asserted Claims is

 entirely consistent with how Snap characterized the claims in its Motion.              (Motion at 1.)

 Accordingly, no claim construction dispute is material to Snap’s Motion.

                   2. Sanderling does not identify a material dispute over the state of the art.

          Sanderling argues that the Court must resolve facts about “[t]he state of the art at the time

 of the invention.” (Dkt. 34 at 8.) Sanderling’s argument is a red herring and confuses a Court’s

 obligation to determine patent eligible subject matter under 35 U.S.C. § 101 with a determination

 of whether prior art in the field renders the Claims invalid as anticipated or obvious under 35

 U.S.C. §§ 102 and 103. Snap’s Motion seeks only a determination of patent eligibility under 35

 U.S.C. § 101. See Intellectual Ventures I v. Symantec Corp., 838 F.3d 1307, 1315 (Fed. Cir. 2016)

 (“The ‘novelty’ of any element or steps in a process, or even of the process itself, is of no relevance

 in determining whether the subject matter of a claim falls within the § 101 categories of possibly

 patentable subject matter.” (emphasis supplied)); see also Synopsys, Inc. v. Mentor Graphics

 Corp., 839 F.3d 1138, 1151 (Fed. Cir. 2016) (“The search for a § 101 inventive concept is thus

 distinct from demonstrating § 102 novelty.”). As such, factual findings about the prior art do not

 impact a Section 101 analysis and need not be resolved at this time. Furthermore, Sanderling fails

 to identify with any particularity an actual dispute over the state of the art that would be material

 to the Court’s analysis under Section 101. That is because no such dispute exists, and, more

 SMRH:4814-6086-3188.9                              -4-
 122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 9 of 21 Page ID #:1055




 importantly, they do not impact the Court’ patent eligibility analysis under Section 101.

                   3. Sanderling does not identify a material dispute over the alleged improvement.

          Finally, Sanderling argues that the Court must resolve a factual dispute as to the “extent

 the claimed improvements and limitations (including, without limitation, the distribution rules and

 the ordered combination of elements) were conventional, routine or well-understood—or,

 conversely, a significant improvement or transformative.” (Dkt. 34 at 8.) Once again, Sanderling’s

 argument misstates the record and misapplies controlling law. Indeed, courts routinely resolve

 these fundamental questions under the Alice test as a matter of law at the Rule 12 motion stage.

 See Genetic Techs, 818 F.3d at 1373-74; see also Aatrix, 882 F.3d at 1125.

          Sanderling’s argument in this regard focuses on conclusory allegations from its Complaint

 that “the Asserted Claims offer multiple improvements over the prior art,” including “creating and

 distributing high volumes of branded images . . . to perform [digital image processing] functions

 at quick speeds for a large and increasing number of users, while at the same time providing a

 highly intuitive and smooth user experience,” and “[e]ach of the Asserted Patents claims technical

 solutions to enabling dynamic loading of one or more digital branding functions associated with

 one or more distribution rules . . . .” (Dkt. 34 at 6.) But, Sanderling does not explain how these

 alleged improvements would change the outcome of Snap’s Motion.

          Indeed, even if taken as true, Sanderling’s so-called “improvements” are not directed to

 improving the computer itself, and thus, do not turn the otherwise abstract claims into patent-

 eligible subject matter. Customedia Techs., LLC v. Dish Network Corp. case. 951 F.3d 1359, 1365

 (Fed. Cir. 2020) (finding claims that recited a “data delivery system for providing automatic

 delivery of . . . specifically identified advertising data,” to be unpatentable, even in view of

 Customedia’s argument that the claims “improved speeds and efficiencies” of the system’s ability

 to deliver the advertising data, because the claims “merely improve[d] a fundamental practice or

 SMRH:4814-6086-3188.9                            -5-
 122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 10 of 21 Page ID #:1056




  abstract process by invoking a computer merely as a tool.”). In other words, just because the

  distribution rule recited in the Asserted Claims allegedly improves the speed at which digital image

  processing functions can be distributed to mobile devices based on meeting a condition, Sanderling

  does not allege, nor do the claims recite, a mechanism for improving the actual performance of

  the computer components recited in the claims. Nor does Sanderling attempt to explain how the

  so-called “multiple improvements” are achieved by the Asserted Claims. Remarkably, apart from

  merely copying two vague and conclusory allegations from paragraphs 12 and 23 of its Complaint

  into its Opposition, Sanderling provides only one additional averment that “the intrinsic evidence

  makes clear [that] the claimed ‘distribution rule’ orchestrates the dynamic loading of relevant

  image- and video-processing functions on mobile devices over a network.” (Dkt. 34 at 6.) But,

  Sanderling does not identify the intrinsic evidence to which it is refers, nor does Sanderling explain

  how the Asserted Claims implement the so-called “dynamic loading” step, which is not even

  recited by the claims. 2 Sanderling fails to tie the unclaimed “dynamic loading” process to any

  functionality of the server or mobile device that are recited by the claims. As such, Sanderling

  “cannot avoid dismissal for [its] ineligible claims” by making conclusory, generalized, fanciful,

  and exaggerated allegations about “multiple improvements” of speed and “dynamic loading”

  without tying such improvements to the computer itself. Yanbin Yu, 392 F. Supp. 3d at 1102.

           Sanderling relies heavily on the Aatrix case in support of its misguided argument. (Dkt.

  34 at 6, citing Aatrix, 832 F.3d at 1123-24.) Aatrix actually supports Snap’s position. In Aatrix,

  the Federal Circuit held that the plaintiff’s allegation “that the data file is directed to an

  improvement in importing data from third-party software applications” supported the conclusion


  2
    The USPTO’s determination of patent eligibility during prosecution “bear[s] no relationship to the subject
  matter to which [the Asserted Claims are] directed” and does not “shield the patent's claims from Article
  III review for patent eligibility.” Elec. Commun. Techs., LLC v. ShoppersChoice.com, LLC, 958 F.3d 1178,
  1183 (Fed. Cir. 2020)

  SMRH:4814-6086-3188.9                               -6-
  122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 11 of 21 Page ID #:1057




  that the claims were “directed to an improvement in the computer technology itself and not

  directed to generic components performing conventional activities.” 832 F.3d at 1127 (emphasis

  added). In contrast, as explained above, Sanderling does not allege, nor do the Asserted Claims

  recite, any mechanism by which the performance of the claimed generic computer components are

  actually improved by the claimed distribution rule. Unlike in Aatrix, where the claims directly

  recite system-level improvements to “a form file,” “a form file creation program that imports a

  background image from an original form,” “a data file,” and “a form viewer,” the Asserted Claims

  here merely apply a distribution rule – the satisfying of a condition – to trigger a transmission of

  information to a mobile device. Indeed, postal carriers have applied this same distribution rule for

  centuries – they deliver the mail based on the address on the envelope. It is not rooted in an

  improvement to the operation of the computer, nor does Sanderling make any colorable argument

  to the contrary. Sanderling’s phantom attempt to manufacture a dispute over claim construction,

  the state of the art at the time of patenting, or naked allegations in its Complaint about performance

  improvements, even if resolved in Sanderling’s favor, do not impact the determination that the

  Asserted Claims are directed to a patent ineligible abstract idea.

           B.       Alice Step One: The Asserted Claims are Directed to an Abstract Idea.

           Sanderling conspicuously abstains from raising any substantive counter-arguments

  addressing the heart of Snap’s patentability analysis under Step One of Alice – namely, that the

  idea of providing information to a device based on satisfying a condition has been deemed abstract

  as a matter of law by the Federal Circuit. Indeed, Sanderling does not attempt to distinguish any

  of the many precedential and persuasive cases Snap cited to demonstrate the ineligibility of the

  Asserted Claims. Instead, Sanderling relies on its misguided argument that “the Asserted Claims

  focus on a specific improvement: a particular system and method of automatically distributing

  relevant digital image processing functions to mobile devices based on their GPS locations (or

  SMRH:4814-6086-3188.9                            -7-
  122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 12 of 21 Page ID #:1058




  other conditions), resulting in improved and highly-scalable promotions content distribution.”

  (Dkt. 34 at 8.) Sanderling further argues that the “Asserted Claims are also directed to an improved

  distribution method: a scalable and efficient way for mobile device users to quickly and efficiently

  share branded images and videos in a targeted manner, which was an improvement over prior

  distribution methods.” (Id.) However, Sanderling does not explain how the alleged benefits

  improve the operation of the computer itself, which the Federal Circuit makes clear is required.

  And, the Asserted Claims plainly recite no such improvement.

                    1. The Asserted Claims fail Step One of Alice.

           As discussed in detail in Snap’s Opening Brief, the Asserted Claims are directed to the

  well-established abstract idea of providing information (i.e., a digital image processing function

  or a media content processing function) based on the satisfaction of a condition (i.e., matching a

  location or matching a sensor condition). (Dkt. 18 at 9.) As such, the Asserted Claims merely

  perform abstract mental steps on generic computer components such as a “server,” a “hardware

  processor,” a “network,” a “database,” a “sensor,” and/or a “GPS module.”             Remarkably,

  Sanderling identifies this same list of generic computer components in describing the platform

  upon which the claimed “computerized method of distributing a digital image processing function”

  is implemented. (Dkt. 34 at 9.) Sanderling also proudly agrees with Snap that the Asserted Claims

  merely require providing the information, and do not actually require using or applying the digital

  image or media content processing function in any way.             (Dkt. 18 at 10; Dkt. 34 at 13.)

  Sanderling’s concession is fatal. As it admits, the Asserted Claims merely recite implementing an

  abstract idea using generic computer equipment, and therefore, fall directly into the category of

  abstract subject matter that the Supreme Court and the Federal Circuit deem unpatentable. Alice,

  134 S. Ct. at 2357; Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1354 (Fed. Cir. 2016).

           Sanderling does not dispute that the Asserted Claims are analogous to claims found

  SMRH:4814-6086-3188.9                            -8-
  122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 13 of 21 Page ID #:1059




  ineligible in In re Rosenberg, 813 F. App'x 594, 598 (Fed. Cir. 2020). Specifically, the Asserted

  Claims are directed to the abstract idea of providing information based on the satisfaction of a

  condition (e.g., the location of the device that captured the media content) by (i) using or accessing

  a media content processing function with a server; (ii) receiving data from a sensor on a mobile

  device; and (iii) transmitting the media content processing function to the mobile device based on

  a match between the sensor data and a condition; (iv) wherein the media content processing

  function is set or configured to be used by an application on the mobile device to create a processed

  output image. Similarly, the ineligible claims at issue in In re Rosenberg recited “collecting data”

  comprising “performance metrics with respect to [the] clinical trial,” “transmitting the data from

  [a] remote site to a processing location,” automatically “checking the transmitted data . . . to assess

  the consistency of the data with respect to other collected data” by comparing current and historical

  data sets, “electronically reporting the data,” “determining” if a notification was required, and

  “providing instructions, based on” that determination. Id. The Federal Circuit determined that the

  “claims are directed to the basic idea of deciding whether to fine-tune a given system . . . based on

  reviewing the system’s performance data.” Id. at 596. Accordingly, the Federal Circuit held that

  the claims were directed to an abstract idea because they described “computer-performed mental

  steps that would otherwise have been performed in person to assess and respond to performance

  measures in the field.” Id. Just as in In re Rosenberg, the Asserted Claims describe patent-

  ineligible computer-performed mental steps.

           Snap cited two additional exemplary cases in its opening brief: Ex Parte Sanjiv Desai, No.

  2019-004988, 2020 Pat. App. LEXIS 8049, *8-9 (P.T.A.B. June 8, 2020) and In re Rudy, 956 F.3d

  1379, 1384-85 (Fed. Cir. 2020). The claims at issue in those cases were directed to providing

  information based on “matched data” or a “matching condition,” and were found to be patent



  SMRH:4814-6086-3188.9                            -9-
  122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 14 of 21 Page ID #:1060




  ineligible. Tellingly, Sanderling does not even attempt to distinguish any of the authority cited by

  Snap in the Step One of Alice section of the Motion.

                    2. The Asserted Claims do not improve the computer itself.

           Although Sanderling regurgitates a handful of allegations from its Complaint regarding

  how the distribution rule recited in its claims provides an improved speed and scalability for

  distributing media content processing functions, Sanderling makes no attempt to tie those

  improvements to the operation of the computer itself. Sanderling specifically argues that the

  “distribution rule” improves speed and scalability by “orchestrating the dynamic loading of

  relevant image- and video-processing functions on mobile devices over a network” and “ensure[s]

  that relevant digital image processing functions are auto-forwarded to mobile devices with a

  matching location/sensor data condition in a dynamic manner, as opposed to an incriminate blast

  to all devices.” (Dkt. 34 at 6, and 8.) However, not only does Sanderling read limitations into the

  claims that are not recited (i.e., “dynamic loading”), but Sanderling also fails to explain how such

  a filtering rule, which is standard fare in computer technology, actually improves the speed at

  which the digital image or media content processing functions are distributed.

           More importantly, and fatal to Sanderling’s Opposition, the Federal Circuit has squarely

  rejected the same argument about the same type of alleged improvements recited by analogous

  claims in the Customedia case. 951 F.3d at 1364-65. The claims at bar in that case recited a “data

  delivery system for providing automatic delivery of . . . specifically identified advertising data,”

  in which the “advertising data is received and processed by a ‘programmable local receiver unit,’

  which includes at least one ‘individually controlled and reserved advertising data storage section

  adapted specifically for storing the specifically identified advertising data.” Id. Just as Sanderling

  does here, Customedia argued that “the claimed invention improves the data delivery system's

  ability to store advertising data, transfer data at improved speeds and efficiencies, and prevent

  SMRH:4814-6086-3188.9                           -10-
  122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 15 of 21 Page ID #:1061




  system inoperability due to insufficient storage.” Id. However, the Federal Circuit squarely

  rejected Customedia’s argument, finding that, “[e]ven if we accept Customedia's assertions, the

  claimed invention merely improves the abstract concept of delivering targeted advertising using a

  computer only as a tool. This is not what the Supreme Court meant by improving the functioning

  of the computer itself . . . .” Id. The Federal Circuit’s result equally applies here.

                    3. Sanderling relies on inapposite authority.

           Sanderling relies on a handful of readily distinguishable cases for the proposition that the

  Federal Circuit has found certain “software-enabled improvements” to be “patent-eligible, even

  after the Alice decision.” 3 (Dkt. 34 at 10.)        The claims discussed in each of these cases

  fundamentally differ from the Asserted Claims here. For example, in Finjan, the Federal Circuit

  found claims that recited a behavior-based virus scanning method were directed to patent eligible

  subject matter because they “employ[ ] a new kind of file that enables a computer security system

  to do things it could not do before,” including “accumulat[ing] and utiliz[ing] newly available,

  behavior-based information about potential threats.” 879 F.3d at 1305. The claims were “therefore

  directed to a non-abstract improvement in functionality, rather than the abstract idea of computer

  security writ large.” Id. Similarly, in Enfish, the Federal Circuit found claims that recited a “self-

  referential table for a computer database” eligible under step one because the claims were

  directed to a particular improvement in the computer's functionality, namely, an improved

  database. 822 F.3d at 1336. And, the claims in Core Wireless were directed to an improved user

  interface that displayed content in a new way by displaying data of interest in a summary window


  3
    Sanderling specifically cites to Finjan v. Blue Coat Systems, 879 F.3d 1299, 1336 (Fed. Cir. 2018);
  Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1336 (Fed. Cir. 2016); Core Wireless Licensing S.A.R.L.
  v. LG Elcs., Inc., 880 F.3d 1356, 1362-63 (Fed. Cir. 2018); Trading Techs. Int’l, v. CQG, Inc., 675 App’x
  1001, 1002-04 (Fed. Cir. 2017); Local Intelligence, LLC v. HTC Am., Inc., 2018 WL 1697127, at *7
  (N.D. Cal. Apr. 6, 2018); and Kove IO, Inc. v. Amazon Web Servs., Inc., 448 F. Supp. 3d 849, 859 (N.D.
  Ill. 2020).

  SMRH:4814-6086-3188.9                             -11-
  122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 16 of 21 Page ID #:1062




  so users see most relevant data “without actually opening the application up.” 880 F.3d at 1363.

           In stark contrast to the claims analyzed by the Federal Circuit in these cases, the Asserted

  Claims here do not provide improvements to the functionality of the computer itself, but instead,

  merely recite the abstract idea of providing information based on the satisfaction of a condition.

           Sanderling’s reliance on the Logical Intelligence and Kove IO district court cases is equally

  misplaced. The claims at issue in Logical Intelligence recited “a specific manner of limiting

  information which should be displayed” to improve a user interface display, similar to the patent

  eligible claims of Core Wireless. 2018 WL 1697127 at *8. Although the court found the claims

  to be patent eligible because they were directed to a specific improvement to the computer user

  interface technology like the claims in Core Wireless, the court expressly warned that “the

  reasoning of Core Wireless may rest on narrow ground,” and “[o]ther Federal Circuit cases confirm

  that not every purported technological improvement is patent eligible.” Id. Moreover, the

  Asserted Claims do not recite the display of any of the transmitted information. And, finally, in

  Kove IO, this District found that claims “directed toward a distributed storage system in which

  location information can be stored in multiple servers to reduce the processing time” by utilizing

  “a hash function” to permit “a location server without a particular data file's location information

  to determine which location server would have that information” to be patent eligible because

  they “focus on the specific asserted improvement in computer capabilities.” 48 F.Supp.3d at *858-

  859. In other words, those claims focused on a specific improvement to the data storage itself, and

  not an abstract idea of providing information based on satisfying a condition like the claims here.

           As the cases cited by Sanderling make clear, there is a bright line between patent eligible

  claims that are directed to improvements to computers themselves (e.g., user interface and data

  storage performance) as opposed to non-eligible claims that are directed to an abstract idea that is



  SMRH:4814-6086-3188.9                            -12-
  122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 17 of 21 Page ID #:1063




  merely performed on generic computer components. The claims here fall into the latter category.

                    4. Sanderling’s critiques of Snap’s Step One analysis lack merit.

           Sanderling makes only two conclusory critiques of Snap’s analysis under Step 1 of Alice.

  First, Sanderling argues that Snap’s Motion “asks the Court to oversimplify the claims.”

  (Opposition at 11.) Snap does no such thing. Instead, Snap’s Motion provides a detailed

  limitation-by-limitation comparison to claims discussed in multiple Federal Circuit cases. For

  example, Snap’s Motion compares each independent claim limitation from the Asserted Claims to

  the claims that were deemed to be unpatentable by the Federal Circuit in the In re Rosenberg case,

  (as well as other precedential and persuasive cases). (Motion at 10-13.) Ironically, Snap’s

  description of the Asserted Claims closely tracks Sanderling’s own description from its

  Opposition.      Specifically, Sanderling characterizes the Asserted Claims as a “computerized

  method and system of distributing, in a targeted manner, relevant digital image processing

  functions to mobile devices based on their GPS locations (or other conditions).” (Opposition at

  2.) Indeed, the Court could just as easily rely on this characterization of the Asserted Claims

  provided by Sanderling to track the same patentability analysis discussed in Snap’s Motion, and

  the Court would arrive at the same conclusion that the claims merely recite an abstract idea.

           Second, Sanderling takes issue with Snap’s contention that the Asserted Claims “can easily

  be performed by a human.” (Opposition at 12.) But, Sanderling merely provides a conclusory

  response that “[t]here is no way a human can perform the high-end computation required” by the

  Asserted Claims. (Id.) Sanderling makes no attempt to explain why this is the case, or what “high-

  end computation” is required by the claim. Indeed, the claims recite no such computational

  improvement, nor would such an improvement render the claims patent eligible. See iSentium,

  LLC v. Bloomberg Fin. L.P., 343 F. Supp. 3d 379, 389 (S.D.N.Y. 2018) (“[D]ata analysis is an

  abstract idea excluded by section 101, even if done with an efficiency and scale not achievable by

  SMRH:4814-6086-3188.9                            -13-
  122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 18 of 21 Page ID #:1064




  individuals.”) (citing SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1163-65 (Fed. Cir. 2018)).

           In sum, the Asserted Claims fail to satisfy the first step of Alice and should be found invalid.

           C.       Alice Step Two: The Asserted Claims Do Not Recite an Inventive Concept.

           Sanderling’s argues that “[t]he Asserted Claims survive at Step Two as well because they

  recite an ordered combination of steps that, taken together, amounts to significantly more than

  routine and conventional use of computers.” (Opposition at 12.) However, Sanderling grossly

  mischaracterizes the claims, which do not recite an ordered combination of steps. That is, the

  claims do not recite any limitation requiring the claim elements to be performed in any specific

  order. At best, Sanderling infers a logical order to the “forwarding” or “distributing” limitations

  because those steps are performed based on the received location or sensor data. Of course, such

  an order is engrained in the abstract idea itself of providing information based on the satisfaction

  of a condition. Using the postal carrier example, the mail cannot be delivered to an intended

  address before the address is written on the envelope. Such an inherent ordering does not salvage

  an otherwise unpatentable claim from invalidity. See, e.g., Customedia, 951 F.3d at 1364-65.

           In its argument to the contrary, Sanderling primarily relies on DDR Holdings, LLC v.

  Hotels.com, L.P.,773 F.3d 1245 (Fed. Cir. 2014) and Allconnect, Inc. v. Consumer Brands, LLC,

  2018 WL 7377934, at *6-7 (C.D. Cal. Dec. 14, 2018). 4 Both cases are easily distinguished from

  the present case. First, the claims discussed in DDR Holdings recited a complex, multi-step

  ordered interaction between, e.g., “a computer store” containing a “plurality of first web pages”

  with “active link[s] associated with [] commerce object[s],” a “computer server at [an] outsource

  provider,” and “a web browser” that displays a “second web page” containing a specific set


  4
   Sanderling also provides a string cite to a handful of additional cases for the proposition that
  “combinations and arrangements” can be found transformative, but fails to explain how any of those cases
  compares to the Asserted Claims here. (Opposition at 14-15.) Unlike the Asserted Claims here, the
  claims in those cases recite improvements to specialized components.

  SMRH:4814-6086-3188.9                             -14-
  122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 19 of 21 Page ID #:1065




  elements. Id. at 1249-50. The Federal Circuit found these claims satisfied Step Two of Alice

  because they were “necessarily rooted in computer technology,” “overcome a problem specifically

  arising in the realm of computer networks,” and were specific enough to not “preempt every

  application of the ideas of increasing sales by making two web pages look the same.” Id. at 1257,

  1259. In contrast, the present claims are not rooted in computer technology, but instead, merely

  recite performing an abstract idea on generic computer components. Sanderling conspicuously

  does not make any argument that the claims are sufficiently specific to avoid preemption. That is

  likely because the claims provide no specific boundaries to the implementation of the abstract idea

  as did the claims in DDR Holdings. Furthermore, in Allconnect, although the district court

  recognized that the claims were directed at the abstract idea of “ranking and recommending

  products and services based in part on geography—for which a computer is used in its ordinary

  capacity,” the court declined to find the claims ineligible in Step Two of Alice because the claims

  potentially required “a specialized database” that includes “pointers that cross-reference data

  from one table to another . . . .” 2018 WL 7377934, at *6-7. In contrast, the claims here do not

  recite any specialized computer components to implement the abstract method.

           Remarkably, Sanderling provides no substantive response to the substantial authority Snap

  cites and discusses in detail in its Motion in support of its Step Two analysis. Instead, Sanderling

  contends in a footnote that “[t]he cases cited by Snap for Step Two are all distinguishable because

  they involved automating abstract or conventional processes without incorporating an inventive

  step.” (Opposition at FN8.) Of course, that is precisely the point—as explained in Snap’s Motion,

  the claims discussed in each of those cases analogously recited the implementation of an abstract

  idea using the same generic computer components that are recited by the Asserted Claims here.

  III.     CONCLUSION

           For the foregoing reasons, the Asserted Claims are invalid pursuant to 35 U.S.C. § 101.

  SMRH:4814-6086-3188.9                           -15-
  122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 20 of 21 Page ID #:1066




   Date: December 21, 2020



                                         SNAP INC.

                                         /s/ Bradley C. Graveline
                                         Bradley C. Graveline (6203817)
                                         SHEPPARD MULLIN RICHTER &
                                         HAMPTON LLP
                                         70 West Madison Street, 48th floor
                                         Chicago, Illinois 60602
                                         Office: (312) 499-6316
                                         Cell: (312) 339-4804
                                         Fax: (312) 499-6301
                                         bgraveline@sheppardmullin.com

                                         Steven G. Schortgen (Pro Hac Vice Pending)
                                         Jennifer Klein Ayers (Pro Hac Vice Pending)
                                         SHEPPARD MULLIN RICHTER &
                                         HAMPTON LLP
                                         2200 Ross Ave, 24th Floor
                                         Dallas, Texas 75201
                                         Office: (469) 391-7400
                                         Fax: (469) 391-7401
                                         sschortgen@sheppardmullin.com
                                         jayers@sheppardmullin.com

                                         Jesse Salen (Pro Hac Vice Pending)
                                         SHEPPARD MULLIN RICHTER &
                                         HAMPTON LLP
                                         12275 El Camino Real, Ste. 200
                                         San Diego, CA 92130-4092
                                         Office: (858) 720-8964
                                         Fax: (858) 523-6722
                                         jsalen@sheppardmullin.com

                                         Counsel for SNAP INC.




  SMRH:4814-6086-3188.9               -16-
  122120
Case 2:21-cv-02324-GW-JC Document 43 Filed 12/21/20 Page 21 of 21 Page ID #:1067




                                     CERTIFICATE OF SERVICE

                    I, Bradley C. Graveline, an attorney, hereby certify that on December 21, 2020, I

  caused the foregoing MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(6) to be

  electronically filed with the Court in accordance with the Court’s electronic filing system.

  Notice of this filing will be sent to all counsel of record by operation of the Court’s electronic

  filing system.

                                                  By: /s/ Bradley C. Graveline
                                                  Bradley C. Graveline (6203817)
                                                  SHEPPARD, MULLIN, RICHTER &HAMPTON,
                                                  LLP
                                                  70 West Madison Street, 48th floor
                                                  Chicago, Illinois 60602
                                                  Office: (312) 499-6316
                                                  Cell: (312) 339-4804
                                                  Fax: (312) 499-6301
                                                  bgraveline@sheppardmullin.com
                                                  Counsel for SNAP INC.




  SMRH:4814-6086-3188.9                            -17-
  122120
